THE FRANK LAW FIRM P.C.                                                     Hearing Date: August 8, 2024
Counsel to Benjamin O. Ringel                                               Time: 10:00 a.m.
333 Glen Head Road, Suite 145
Old Brookville, New York 11545
P: (516) 246-5577                                                           Objection Date:
F: (516) 246-5597                                                           August 1, 2024
Thomas J. Frank, Esq.
thomas@frankfirmpc.com


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
In re:                                                                      Chapter 7

BENJAMIN O. RINGEL,                                                         Case No. 24-71468 (LAS)

                                       Debtor.
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             NOTICE OF DEBTOR BENJAMIN O. RINGEL’S MOTION
         SEEKING AN ORDER CONVERTING THIS CHAPTER 7 CASE TO A
         CASE UNDER CHAPTER 11, AS OF RIGHT, UNDER 11 U.S.C. §706(a)

         PLEASE TAKE NOTICE, that the debtor Benjamin O. Ringel (the “Movant”), by

and through its counsel, The Frank Law Firm P.C., submits this motion (the “Motion”)

seeking the entry of an Order pursuant to sections 105(a) and 706(a) of title 11 of the United

States Code (the “Bankruptcy Code”): (i) converting this chapter 7 case to a case under

chapter 11; and (ii) granting such other relief as this Court may deem just and proper.

         PLEASE TAKE FURTHER NOTICE, that a hearing (the “Hearing”) to consider

the Motion will be held on August 8, 2024, at 10:00 a.m. before the Honorable Louis A.

Scarcella, United States Bankruptcy Judge, Eastern District of New York, 290 Federal Plaza,

Courtroom 970, Central Islip, New York 11722.

       PLEASE TAKE FURTHER NOTICE, all attorneys and unrepresented parties

appearing for the Hearing must register with eCourt Appearances at least two (2) business

days     in    advance       of    the     scheduled        hearing   at:   https://ecf.nyeb.uscourts.gov/cgi-

bin/nyebAppearances.pl.
      PLEASE TAKE FURTHER NOTICE, if for some reason you are not able to use the

eCourt   Appearances     platform    you   must    email    the   Courtroom    Deputy     at:

las_hearings@nyeb.uscourts.gov at least two (2) business days prior to the Hearing and state

that a reasonable effort to use the platform has been made. You must include your name,

the case number(s), who you represent if you are an attorney, and the date of the Hearing.

Your email must include in the Re: line “I am not able to register using eCourt Appearances.”

You will then be provided with the dial in/log in information. If you do not have internet

access you may call the courtroom deputy with this information at (631) 712-6278.

      PLEASE TAKE FURTHER NOTICE, that pursuant to Local Bankruptcy Rule 9006-

1 for the Eastern District of New York, answering papers and memoranda of law, if any, must

be filed with the Court and served upon the undersigned so as to be received by the

undersigned no later than seven (7) days before the Hearing.

Dated: July 2, 2024
       Old Brookville, New York

                                    THE FRANK LAW FIRM P.C.


                                    By:   /s/Thomas J. Frank
                                          Thomas J. Frank
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                                    Counsel to Debtor, Benjamin O. Ringel




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